   Case 2:10-md-02179-CJB-JCW Document 25696 Filed 06/03/19 Page 1 of 40



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig            MDL NO. 2179
 “Deepwater Horizon” in the Gulf
 of Mexico, on April 20, 2010              SECTION: J

                                           JUDGE BARBIER
Applies to: 12-cv-968: BELO
                                           MAGISTRATE
                                           JUDGE WILKINSON
Relates to:
 18-09723      18-12193       18-14053   19-00927   19-01113   19-01432
 18-10366      18-12195       18-14056   19-00928   19-01114   19-01434
 18-10387      18-12197       18-14058   19-00929   19-01115   19-01436
 18-10429      18-12203       18-14060   19-00930   19-01116   19-01437
 18-10509      18-12206       18-14063   19-00931   19-01117   19-01439
 18-10514      18-12212       18-14095   19-00934   19-01118   19-01440
 18-10517      18-12303       18-14097   19-00935   19-01119   19-01447
 18-10518      18-12305       18-14098   19-00937   19-01120   19-01451
 18-10519      18-12308       18-14099   19-00938   19-01121   19-01452
 18-10521      18-12315       18-14102   19-00939   19-01122   19-01455
 18-10562      18-12317       18-14103   19-00940   19-01123   19-01456
 18-10567      18-12343       18-14104   19-00941   19-01124   19-01457
 18-10569      18-12359       18-14105   19-00943   19-01125   19-01458
 18-10573      18-12364       18-14106   19-00944   19-01126   19-01459
 18-10575      18-12368       18-14111   19-00945   19-01127   19-01460
 18-10578      18-12449       18-14123   19-00946   19-01128   19-01462
 18-10625      18-12478       18-14151   19-00947   19-01129   19-01464
 18-10628      18-12480       18-14152   19-00948   19-01130   19-01465
 18-10635      18-12484       18-14153   19-00949   19-01132   19-01466
 18-10643      18-12486       18-14154   19-00950   19-01133   19-01467
 18-10645      18-12487       18-14159   19-00951   19-01134   19-01468
 18-10647      18-12490       18-14161   19-00952   19-01135   19-01469
 18-10648      18-12493       18-14165   19-00953   19-01136   19-01472
 18-10685      18-12495       18-14169   19-00954   19-01137   19-01475
 18-10699      18-12497       18-14173   19-00955   19-01138   19-01476
 18-10707      18-12501       18-14174   19-00956   19-01139   19-01477
 18-10711      18-12503       18-14223   19-00957   19-01140   19-01478
 18-10713      18-12511       18-14226   19-00959   19-01141   19-01482
 18-10743      18-12512       18-14233   19-00960   19-01142   19-01483
 18-10755      18-12514       18-14287   19-00961   19-01143   19-01484
 18-10773      18-12680       18-14310   19-00963   19-01144   19-01485
 18-10780      18-12682       19-00148   19-00965   19-01145   19-01486
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18-10782   18-12683    19-00490        19-00966   19-01146   19-01487
18-10787   18-12684    19-00523        19-00967   19-01147   19-01488
18-10789   18-12685    19-00524        19-00968   19-01148   19-01489
18-10790   18-12686    19-00526        19-00969   19-01149   19-01490
18-10842   18-12689    19-00530        19-00970   19-01150   19-01491
18-10844   18-12691    19-00532        19-00971   19-01151   19-01492
18-10846   18-12695    19-00533        19-00972   19-01152   19-01493
18-10851   18-12700    19-00534        19-00973   19-01153   19-01498
18-10907   18-12745    19-00537        19-00974   19-01154   19-01510
18-10916   18-12750    19-00538        19-00975   19-01155   19-01514
18-10937   18-12753    19-00539        19-00976   19-01156   19-01515
18-10975   18-12776    19-00541        19-00977   19-01157   19-01516
18-10980   18-12778    19-00542        19-00978   19-01159   19-01517
18-10988   18-12805    19-00543        19-00979   19-01160   19-01518
18-10998   18-12815    19-00545        19-00984   19-01161   19-01520
18-11001   18-12832    19-00546        19-00989   19-01187   19-01521
18-11004   18-12833    19-00547        19-00997   19-01188   19-01523
18-11005   18-12834    19-00548        19-00999   19-01189   19-01524
18-11008   18-13473    19-00549        19-01000   19-01190   19-01525
18-11030   18-13478    19-00550        19-01001   19-01202   19-01526
18-11031   18-13481    19-00551        19-01002   19-01203   19-01527
18-11049   18-13482    19-00552        19-01004   19-01204   19-01528
18-11051   18-13485    19-00553        19-01005   19-01205   19-01529
18-11069   18-13486    19-00554        19-01006   19-01245   19-01530
18-11071   18-13490    19-00555        19-01007   19-01246   19-01531
18-11072   18-13494    19-00556        19-01009   19-01247   19-01532
18-11076   18-13499    19-00558        19-01011   19-01248   19-01534
18-11077   18-13500    19-00559        19-01013   19-01249   19-01535
18-11175   18-13502    19-00562        19-01015   19-01250   19-01537
18-11183   18-13582    19-00564        19-01017   19-01251   19-01538
18-11185   18-13583    19-00568        19-01019   19-01256   19-01539
18-11189   18-13587    19-00571        19-01021   19-01257   19-01559
18-11196   18-13591    19-00572        19-01023   19-01258   19-01560
18-11198   18-13593    19-00573        19-01026   19-01261   19-01561
18-11206   18-13594    19-00574        19-01027   19-01266   19-01567
18-11207   18-13610    19-00575        19-01029   19-01267   19-01571
18-11267   18-13612    19-00576        19-01030   19-01269   19-01572
18-11268   18-13621    19-00577        19-01033   19-01270   19-01573
18-11270   18-13626    19-00578        19-01037   19-01271   19-01574
18-11271   18-13685    19-00581        19-01039   19-01274   19-01575
18-11272   18-13688    19-00582        19-01041   19-01275   19-01576
18-11273   18-13689    19-00584        19-01042   19-01276   19-01577
18-11283   18-13694    19-00587        19-01043   19-01299   19-01578
18-11288   18-13697    19-00589        19-01044   19-01302   19-01579
18-11290   18-13699    19-00590        19-01046   19-01303   19-01580


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18-11377   18-13700    19-00591        19-01047   19-01307   19-01581
18-11380   18-13704    19-00592        19-01049   19-01308   19-01582
18-11396   18-13708    19-00595        19-01050   19-01310   19-01583
18-11408   18-13711    19-00597        19-01051   19-01312   19-01586
18-11410   18-13712    19-00598        19-01052   19-01314   19-01587
18-11416   18-13716    19-00602        19-01053   19-01315   19-01588
18-11417   18-13718    19-00622        19-01055   19-01316   19-01589
18-11421   18-13749    19-00624        19-01056   19-01317   19-01590
18-11422   18-13790    19-00625        19-01057   19-01318   19-01591
18-11465   18-13797    19-00626        19-01058   19-01319   19-01593
18-11502   18-13799    19-00627        19-01059   19-01320   19-01595
18-11506   18-13803    19-00628        19-01060   19-01322   19-01596
18-11510   18-13806    19-00629        19-01061   19-01323   19-01597
18-11516   18-13808    19-00698        19-01062   19-01324   19-01598
18-11518   18-13811    19-00714        19-01063   19-01325   19-01599
18-11529   18-13814    19-00716        19-01064   19-01326   19-01600
18-11530   18-13818    19-00768        19-01065   19-01327   19-01601
18-11537   18-13823    19-00773        19-01066   19-01328   19-01602
18-11597   18-13867    19-00775        19-01067   19-01339   19-01603
18-11600   18-13875    19-00777        19-01068   19-01353   19-01617
18-11606   18-13876    19-00781        19-01069   19-01355   19-01618
18-11610   18-13881    19-00783        19-01070   19-01358   19-01619
18-11619   18-13882    19-00786        19-01071   19-01360   19-01620
18-11622   18-13883    19-00788        19-01072   19-01361   19-01621
18-11623   18-13887    19-00789        19-01073   19-01363   19-01622
18-11624   18-13888    19-00790        19-01074   19-01366   19-01623
18-11625   18-13906    19-00791        19-01075   19-01367   19-01624
18-11695   18-13907    19-00792        19-01076   19-01368   19-01625
18-11703   18-13908    19-00794        19-01077   19-01369   19-01627
18-11704   18-13916    19-00795        19-01078   19-01370   19-01628
18-11708   18-13918    19-00796        19-01079   19-01371   19-01629
18-11710   18-13960    19-00798        19-01080   19-01373   19-01630
18-11711   18-13961    19-00799        19-01082   19-01374   19-01632
18-11712   18-13963    19-00800        19-01083   19-01375   19-01633
18-11713   18-13964    19-00801        19-01084   19-01376   19-01634
18-11719   18-13965    19-00802        19-01085   19-01378   19-01635
18-11720   18-13966    19-00804        19-01086   19-01379   19-01638
18-11721   18-13967    19-00876        19-01087   19-01380   19-01639
18-11778   18-13968    19-00878        19-01088   19-01381   19-01641
18-11781   18-13969    19-00881        19-01089   19-01382   19-01661
18-11785   18-13970    19-00883        19-01090   19-01388   19-01662
18-11791   18-13972    19-00886        19-01091   19-01389   19-01663
18-11793   18-13973    19-00890        19-01092   19-01390   19-01665
18-11812   18-13977    19-00891        19-01093   19-01391   19-01667
18-11828   18-13978    19-00893        19-01094   19-01392   19-01673


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    18-11838      18-13980        19-00894           19-01095        19-01393       19-01674
    18-11843      18-13983        19-00895           19-01096        19-01394       19-01676
    18-11847      18-13994        19-00897           19-01097        19-01395       19-01677
    18-11856      18-13999        19-00898           19-01098        19-01396       19-01678
    18-11857      18-14001        19-00899           19-01099        19-01397       19-01680
    18-11863      18-14004        19-00901           19-01100        19-01398       19-01681
    18-11865      18-14006        19-00904           19-01101        19-01399       19-01683
    18-11958      18-14007        19-00912           19-01102        19-01403       19-01684
    18-12041      18-14021        19-00913           19-01103        19-01404       19-01685
    18-12082      18-14022        19-00914           19-01104        19-01405       19-01686
    18-12085      18-14026        19-00915           19-01105        19-01406       19-01687
    18-12097      18-14027        19-00916           19-01106        19-01407       19-01688
    18-12104      18-14029        19-00918           19-01107        19-01408       19-01689
    18-12110      18-14030        19-00920           19-01108        19-01409       19-01690
    18-12166      18-14031        19-00921           19-01109        19-01410
    18-12168      18-14033        19-00924           19-01110        19-01428
    18-12169      18-14050        19-00925           19-01111        19-01429
    18-12191                      19-00926           19-01112        19-01431


    THE BP PARTIES’ JUNE 1, 2019 1 STATUS REPORT PURSUANT TO BELO CASES
            INITIAL PROCEEDINGS CASE MANAGEMENT ORDER NO. 2

         Pursuant to the Court’s BELO Cases Initial Proceedings Case Management Order No. 2

(“CMO No. 2”) (Rec. Doc. 25486), Defendants BP Exploration & Production Inc. and BP

America Production Company (collectively, the “BP Parties”) respectfully submit the foregoing

Status Report. The BP Parties served a draft of this report by email on counsel for all plaintiffs

whose cases are listed in this Status Report on May 24, 2019. This report includes plaintiffs

whose initial disclosures were due through Thursday, May 23, 2019, and reflects the status of

initial disclosures received as of 10:30 a.m. on Monday, June 3. 2


1
       June 1, 2019 was a Saturday. The BP Parties therefore file this report on Monday, June
3, 2019.
2
        The BP Parties’ May 1, 2019 Status Report identified 128 plaintiffs with missing or
deficient disclosures (Category I). The deadline for those 128 plaintiffs to cure their deficiencies
is May 30, 2019. See Order, Rec. Doc. 25607, In re: Oil Spill by the Oil Rig “Deepwater
Horizon” in the Gulf of Mexico, on April 20, 2010, Case No. 2:10-md-02179 (May 2, 2019).
Thus, those 128 lawsuits are not yet ripe to be included on this month’s status report, and the


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                                          Summary Chart

          Plaintiffs’ Counsel              Plaintiffs     Category       Category       Category 2
                                            on List          1.A            1.B          Plaintiffs
                                                          Plaintiffs     Plaintiffs
 The Nations Law Firm                          709           373            66               270
 The Downs Law Group                           115           107             5                3
 Falcon Law Firm; Lindsay &                     5             2              1                2
 Lindsay P.A.
 Amaro Law Firm                                 4             4               0               0
 Frank J. D’Amico Jr. APLC                      2             0               0               2
               Total                           835           486             72              277

   I.    Category I Plaintiffs – Plaintiffs with Missing or Deficient Initial Disclosures

         A. Plaintiffs With Missing Initial Disclosures

         Pursuant to Section 2(B) of CMO No. 2, the BP Parties have identified the following

cases in which plaintiffs have provided no initial disclosures.

          Docket                   Plaintiff                           Plaintiff’s Counsel
          Number
 1.      18-14223     Lay, Vernon Lanard                    The Nations Law Firm
 2.      18-14226     Taranto, Richard John, Jr             The Nations Law Firm
 3.      19-00148     Jerritt, David                        The Downs Law Group
 4.      19-00490     Gibson, Larry Anthony                 The Nations Law Firm
 5.      19-00523     Alvarado-Velasquez, Reina             The Downs Law Group
                      Yadira
 6.      19-00524     Dominguez, Jorge Alexander            The Downs Law Group
 7.      19-00526     Perez, Islay Barbaro                  The Downs Law Group
 8.      19-00530     Paredes, Dilcia Guardado              The Downs Law Group
 9.      19-00532     De La Cruz-Almanzar, Arido            The Downs Law Group
 10.     19-00533     Leon, Odalys                          The Downs Law Group
 11.     19-00534     Rodriguez, Patriial Mercedes M.       The Downs Law Group
 12.     19-00537     Rubi, Maria                           The Downs Law Group
 13.     19-00538     Corrales, Bernardo                    The Downs Law Group
 14.     19-00539     Garcia, Maria Vasquez                 The Downs Law Group
 15.     19-00541     Pelegrino-Montero, Emilio Robe        The Downs Law Group
 16.     19-00542     Tax, Guillermo Alfredo                The Downs Law Group
 17.     19-00543     Maldonado, Obdulio                    The Downs Law Group

status of those plaintiffs’ initial disclosures will be included in the July 1, 2019 Status Report.
(The BP Parties have filed a motion to amend CMO No. 2 to address this timing issue.)



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       Docket               Plaintiff                   Plaintiff’s Counsel
       Number
18.   19-00545   Santos, Angel Estevan Rubio     The Downs Law Group
19.   19-00546   Ford, Robert Lawrence           The Downs Law Group
20.   19-00547   Hidalgo, Misdeny                The Downs Law Group
21.   19-00548   LaFortune, Alex                 The Downs Law Group
22.   19-00549   Merrick, Shelbert Marlon        The Downs Law Group
23.   19-00550   Reeves, Samuel                  The Downs Law Group
24.   19-00551   Lopez, Jose Montes              The Downs Law Group
25.   19-00552   Ruiz, Mauricio                  The Downs Law Group
26.   19-00553   Nieto Amaya, Francisco          The Downs Law Group
27.   19-00554   Sims, Jeremy Paul               The Downs Law Group
28.   19-00555   Sorto Munoz, Orlando            The Downs Law Group
29.   19-00556   Newman, Gregory                 The Downs Law Group
30.   19-00558   Sanchez, Luis Enrique Navas     The Downs Law Group
31.   19-00559   Pistorio, Jr., Leonard          The Downs Law Group
32.   19-00562   Hernandez, Pedro U Pavon        The Downs Law Group
33.   19-00564   Dudley, Marcellous              The Downs Law Group
34.   19-00568   Thompson, Suzanne               The Downs Law Group
35.   19-00571   Tubbs, Travis Allen             The Downs Law Group
36.   19-00572   Westry, Nettie Ruth             The Downs Law Group
37.   19-00573   Jackson, Willie Mike            The Downs Law Group
38.   19-00574   Seijas, Edgar Gregorio          The Downs Law Group
39.   19-00575   Whitfield III, Dallas Edward    The Downs Law Group
40.   19-00576   Reyna, Oscar                    The Downs Law Group
41.   19-00577   Bogan, Carlos                   The Downs Law Group
42.   19-00578   Cardenas, Ana Mercedes          The Downs Law Group
43.   19-00581   Miraldo, Kewin                  The Downs Law Group
44.   19-00582   Coronado, Horacio               The Downs Law Group
45.   19-00584   Polo, Octavio Arteta            The Downs Law Group
46.   19-00587   Lainez, Guadalupe               The Downs Law Group
47.   19-00589   Lopez, Jorge Guerrero           The Downs Law Group
48.   19-00590   Gomez, Hector De Jesus Garzon   The Downs Law Group
49.   19-00591   Perdue, Jacob Jerome            The Downs Law Group
50.   19-00592   Romero, Samuel Lara             The Downs Law Group
51.   19-00595   Matute, Fredy                   The Downs Law Group
52.   19-00597   Oviedo, Leda A.                 The Downs Law Group
53.   19-00598   Jimenez, Nulvin                 The Downs Law Group
54.   19-00622   Portillo, Gloria                The Downs Law Group
55.   19-00624   Cerrato, Jeronimo               The Downs Law Group
56.   19-00625   Fernandez-Alvarez, Lorenzo      The Downs Law Group
57.   19-00626   Mendoza, Abel Rico              The Downs Law Group


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       Docket               Plaintiff                   Plaintiff’s Counsel
       Number
58.   19-00627   Coleman, Thomas Mitch          The Downs Law Group
59.   19-00628   Incer, Eduardo E.              The Downs Law Group
60.   19-00629   Lester, Robin Darlene          The Downs Law Group
61.   19-00698   Calandra Ikner (on behalf of   The Nations Law Firm
                 Emett Stromas)
62.   19-00714   Mitchell, Timothy G.           The Nations Law Firm
63.   19-00716   Higgins, Henry Michael         The Nations Law Firm
64.   19-00768   Garcia-Chicano, Dashiell       The Downs Law Group
65.   19-00773   Garcia, Jose Fernando          The Downs Law Group
66.   19-00775   Albelo, Dadiel                 The Downs Law Group
67.   19-00777   Gutierrez, Amilcar             The Downs Law Group
68.   19-00781   Gonzalez, Richard Youany       The Downs Law Group
69.   19-00783   Pitts, Holllis                 The Downs Law Group
70.   19-00786   Rogers, Frank                  The Downs Law Group
71.   19-00788   Betancourth, Job               The Downs Law Group
72.   19-00789   Black, Laconte Makee           The Downs Law Group
73.   19-00790   Collums, Kenneth               The Downs Law Group
74.   19-00791   Sanchez, Erick Anthony         The Downs Law Group
75.   19-00792   Gonzalez, Emil                 The Downs Law Group
76.   19-00794   Smith, Brian Scott             The Downs Law Group
77.   19-00795   Pineda-Rodriguez, Armando      The Downs Law Group
78.   19-00796   Causey, Billy Ray              The Downs Law Group
79.   19-00798   Williams, David                The Downs Law Group
80.   19-00799   Shanks, Cynthia Coats          The Downs Law Group
81.   19-00800   Martir, Giovanni Xavier        The Downs Law Group
82.   19-00801   Blount, Larry Eugene           The Downs Law Group
83.   19-00802   Robbins, Douglas Jerome        The Downs Law Group
84.   19-00804   Sommer, Jason Edward           The Downs Law Group
85.   19-00881   Adams, Ricky Darnell           The Nations Law Firm
86.   19-00886   Alexie, Brian Anthony          The Nations Law Firm
87.   19-00890   Alfonso, Jesse Nelson          The Nations Law Firm
88.   19-00891   Allen, Semikalove Almalethia   The Nations Law Firm
89.   19-00894   Allison, William Thomas        The Nations Law Firm
90.   19-00895   Anderson, David Michael        The Nations Law Firm
91.   19-00898   Austin, Loren Aaron            The Nations Law Firm
92.   19-00899   Authement, Dudley Paul Jr.     The Nations Law Firm
93.   19-00901   Ayala, Domingo                 The Nations Law Firm
94.   19-00904   Anderson, Cheryl Sip           The Nations Law Firm
95.   19-00912   Baird, Paula Darlene           The Nations Law Firm
96.   19-00913   Barber, Devin Lee              The Nations Law Firm


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        Docket                 Plaintiff                        Plaintiff’s Counsel
        Number
97.    19-00914   Barfield, Deborah Lynn                The Nations Law Firm
98.    19-00916   Barthelemy, Bobbie Joe                The Nations Law Firm
99.    19-00918   Bennett, Jr., Harlon Ray              The Nations Law Firm
100.   19-00920   Berry, Tammie Denelle                 The Nations Law Firm
101.   19-00921   Bates, Jonathan David Christop        The Nations Law Firm
102.   19-00924   Biondolillo, David Anthony            The Nations Law Firm
103.   19-00925   Blackmon, Kevin                       The Nations Law Firm
104.   19-00926   Boone, Stephen Deshaun                The Nations Law Firm
105.   19-00927   Bounds, Bradley Elwin                 The Nations Law Firm
106.   19-00928   Bourdier, William                     The Nations Law Firm
107.   19-00929   Bowen, Tracy Mikeal                   The Nations Law Firm
108.   19-00930   Bradley Jr., Ernest Calvin            The Nations Law Firm
109.   19-00934   Brightwell, Eddie Wilbon              The Nations Law Firm
110.   19-00938   Burrell, Cleophas                     The Nations Law Firm
111.   19-00939   Caristi, Robert Francis III           The Nations Law Firm
112.   19-00940   Carter, Darrell Devan                 The Nations Law Firm
113.   19-00941   Carter, Glenda Verdin                 The Nations Law Firm
114.   19-00943   Causey, David Hunter Jr.              The Nations Law Firm
115.   19-00944   Chambers, Daniel Wesley               The Nations Law Firm
116.   19-00945   Chambliss, Richard Allen              The Nations Law Firm
117.   19-00947   Chasen, Tonia Marie                   The Nations Law Firm
118.   19-00948   Cheatum, Michelle Nicole              The Nations Law Firm
119.   19-00951   Cook, Jonathan Leisaac                The Nations Law Firm
120.   19-00952   Cuchiara, Patrick Anthony             The Nations Law Firm
121.   19-00953   Dees, Donald Reginald                 The Nations Law Firm
122.   19-00954   Dennis, Karen Jerraine                The Nations Law Firm
123.   19-00955   Devalk, Jeffrey                       The Nations Law Firm
124.   19-00956   Dinet, Patrick McKay Jr.              The Nations Law Firm
125.   19-00957   Dixon, Howard Wayne                   The Nations Law Firm
126.   19-00959   Dunning, Paul Edward                  The Nations Law Firm
127.   19-00960   Peters, Charles L.                    The Nations Law Firm
                  (on behalf of the estate of Charles
                  Barnard Williams Jones)
128.   19-00961   Patton, Michael Leroy                 The Nations Law Firm
129.   19-00963   Pellegrin, Lee John                   The Nations Law Firm
130.   19-00965   Plofchon, Eric George                 The Nations Law Firm
131.   19-00966   Porterfield, John Christopher         The Nations Law Firm
132.   19-00967   Poole, James Lee, Jr.                 The Nations Law Firm
133.   19-00968   Portier, Ted Anthony                  The Nations Law Firm
134.   19-00969   Radcliff, Randy Olando                The Nations Law Firm


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        Docket               Plaintiff                  Plaintiff’s Counsel
        Number
135.   19-00970   Ray, Andrew Lamar             The Nations Law Firm
136.   19-00971   Reeves, Wesley Lamar, Jr.     The Nations Law Firm
137.   19-00972   Rembert, Antonio Demetric     The Nations Law Firm
138.   19-00974   Rhodes, Marcus Deon           The Nations Law Firm
139.   19-00975   Richardson, Norman Jr.        The Nations Law Firm
140.   19-00976   Robinson, Herman Willie Jr.   The Nations Law Firm
141.   19-00977   Robinson, Robert              The Nations Law Firm
142.   19-00978   Rodrigue, Craig Anthony       The Nations Law Firm
143.   19-00979   Rooney, Terri Lynn            The Nations Law Firm
144.   19-00984   Dauser, Steven Kent           The Nations Law Firm
145.   19-00989   Chaisson, Maggie Ratley       The Nations Law Firm
146.   19-00997   Ellis, Jevor                  The Nations Law Firm
147.   19-00999   Nguyen, Xuong Van             The Nations Law Firm
148.   19-01000   Sampson-Dees, Vida Melissa    The Nations Law Firm
149.   19-01001   Sanders, Sherri Lynn          The Nations Law Firm
150.   19-01002   Sarisun, Jaruwan              The Nations Law Firm
151.   19-01004   Schwendeman, Glenda Lee       The Nations Law Firm
152.   19-01005   Scott, Jacob Todd             The Nations Law Firm
153.   19-01006   Smith, Antonio DeShawn        The Nations Law Firm
154.   19-01007   Smith, Roy Clarence           The Nations Law Firm
155.   19-01009   Ta, Eva Michelle              The Nations Law Firm
156.   19-01011   Smith, Sean Paul              The Nations Law Firm
157.   19-01013   Thomas, Cory Joshua           The Nations Law Firm
158.   19-01015   Winston Jr., James Lynn       The Nations Law Firm
159.   19-01017   Ramiriez, Roberto Jr.         Amaro Law Firm
160.   19-01019   Carmadelle, Anthony Joseph    The Nations Law Firm
161.   19-01026   Eager, Brandon Harris         The Nations Law Firm
162.   19-01027   Eley, Thomas Collins          The Nations Law Firm
163.   19-01029   Ely, Donavette Maria          The Nations Law Firm
164.   19-01030   Evans, Joseph Owens           The Nations Law Firm
165.   19-01033   Expose, Angela                The Nations Law Firm
166.   19-01039   Furby, Michael Ruben          The Nations Law Firm
167.   19-01041   Finklea, James Javince        The Nations Law Firm
168.   19-01042   Gautreaux, Jeffrey Allen      The Nations Law Firm
169.   19-01043   Giuffria, Marshall Sturges    The Nations Law Firm
170.   19-01044   Green, Bobby Earl             The Nations Law Firm
171.   19-01047   Hawkins, Sidney Daniel Jr.    The Nations Law Firm
172.   19-01049   Hayes, Sonja Denise           The Nations Law Firm
173.   19-01050   Higgins, Charles Bert         The Nations Law Firm



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        Docket                Plaintiff                   Plaintiff’s Counsel
        Number
174.   19-01051   Horace, Dejuan Frank            The Nations Law Firm
175.   19-01052   Hunter, Stanley Roy III         The Nations Law Firm
176.   19-01053   Huynh, Lam Than Huynh           The Nations Law Firm
177.   19-01055   Huynh, Minh Cong                The Nations Law Firm
178.   19-01057   Janey, Teresa Rachele           The Nations Law Firm
179.   19-01058   Jefferson, Danielle Lachandra   The Nations Law Firm
180.   19-01059   Jerkins, Carlos                 The Nations Law Firm
181.   19-01060   Johnson, David Paul             The Nations Law Firm
182.   19-01061   Johnson, Freddie Geneieve       The Nations Law Firm
183.   19-01062   Johnson, Michael Lawrence       The Nations Law Firm
184.   19-01063   Jones, Erica Renea              The Nations Law Firm
185.   19-01064   Lafrance, Carlton Michael       The Nations Law Firm
186.   19-01065   Lamark, Sequille ONeil          The Nations Law Firm
187.   19-01066   Lenormand, Charles Evans Jr.    The Nations Law Firm
188.   19-01067   Leblanc, Madeline Theresa       The Nations Law Firm
189.   19-01068   Ledbetter, Kyle Allen           The Nations Law Firm
190.   19-01069   Leslie, Fred D. Jr.             The Nations Law Firm
191.   19-01070   Jones, Harrison Jr.             The Nations Law Firm
192.   19-01071   Lindsey, Vanessa Fay            The Nations Law Firm
193.   19-01072   Wroten, Arabian Lajhan          The Nations Law Firm
194.   19-01073   Willis, Kendarrien Maurice      The Nations Law Firm
195.   19-01074   Jones, Reginald Earl            The Nations Law Firm
196.   19-01075   Jones, III, Samuel              The Nations Law Firm
197.   19-01076   Jones, Walter Edward            The Nations Law Firm
198.   19-01078   Kap, Chhann                     The Nations Law Firm
199.   19-01079   Khath, Chahhak Nget             The Nations Law Firm
200.   19-01080   Kidd, Miquel Feliciano          The Nations Law Firm
201.   19-01083   Knight, John William            The Nations Law Firm
202.   19-01084   Koloszar, Bonnie Marie          The Nations Law Firm
203.   19-01085   Nye, Charles Taylor             The Nations Law Firm
204.   19-01088   Palmer, Shamika Renee           The Nations Law Firm
205.   19-01089   Parker, Derek Trendelle         The Nations Law Firm
206.   19-01090   Parmar, Mina Golemon            The Nations Law Firm
207.   19-01091   Lockley, Noah                   The Nations Law Firm
208.   19-01092   Lohmeyer, John David            The Nations Law Firm
209.   19-01093   Lowe, Richard Colby             The Nations Law Firm
210.   19-01094   Ly, Tai Cong                    The Nations Law Firm
211.   19-01096   Magee, Doretha Lashae           The Nations Law Firm
212.   19-01099   Marshall, Emmanuel Maurice      The Nations Law Firm



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        Docket               Plaintiff                   Plaintiff’s Counsel
        Number
213.   19-01100   Martin, Ferrell Joseph         The Nations Law Firm
214.   19-01101   Matherne, Ian Paul             The Nations Law Firm
215.   19-01102   Mayfield, Laurence James       The Nations Law Firm
216.   19-01103   Scott, Larry Neal              The Nations Law Firm
217.   19-01104   Sellers, Aaron Lavon           The Nations Law Firm
218.   19-01106   Simmons, James Andrews         The Nations Law Firm
219.   19-01107   Smith, Curtis Douglas          The Nations Law Firm
220.   19-01108   Smith, James Luther            The Nations Law Firm
221.   19-01109   Tan, Vichet                    The Nations Law Firm
222.   19-01110   Simon, John James              The Nations Law Firm
223.   19-01111   Stallworth, Reginald           The Nations Law Firm
224.   19-01112   Williams, Terrance Renee       The Nations Law Firm
225.   19-01113   Williams, Eulanda Lynn         The Nations Law Firm
226.   19-01114   Wilkerson, Johnnie Edwards     The Nations Law Firm
227.   19-01116   White, Marcus Jr.              The Nations Law Firm
228.   19-01118   Weaver, Ernest Charles Jr.     The Nations Law Firm
229.   19-01120   Watson, Derrick Jamale         The Nations Law Firm
230.   19-01121   Washington, Kenneth Tremaine   The Nations Law Firm
231.   19-01122   Underwood, Edna Ruth           The Nations Law Firm
232.   19-01123   Tran, Timmy                    The Nations Law Firm
233.   19-01124   Tran, Nhe                      The Nations Law Firm
234.   19-01125   Tolbert, Alan Clay             The Nations Law Firm
235.   19-01126   Thrift, Chad Ray               The Nations Law Firm
236.   19-01128   Nguyen, Toan                   The Nations Law Firm
237.   19-01129   Nelson, Pamela Fitzsimmons     The Nations Law Firm
238.   19-01130   Nelson, Chester Royal          The Nations Law Firm
239.   19-01132   Myers, Maleshia Janell         The Nations Law Firm
240.   19-01133   Thomas, Cornelius Arlando      The Nations Law Firm
241.   19-01134   Terluin, Justin Michael        The Nations Law Firm
242.   19-01135   Teague, Katie Lee              The Nations Law Firm
243.   19-01137   Tatum, Isiah Elijah            The Nations Law Firm
244.   19-01138   Tanner, William Louis          The Nations Law Firm
245.   19-01139   Sutton, Sanovia Amanda         The Nations Law Firm
246.   19-01140   Styron, Shannon Denise         The Nations Law Firm
247.   19-01141   Stouder, Frank Jay III         The Nations Law Firm
248.   19-01142   Stoker, Tiffany Deloris        The Nations Law Firm
249.   19-01143   Duplantis, Christopher         The Nations Law Firm
250.   19-01144   McCall, Reshad Deandre         The Nations Law Firm
251.   19-01145   McCants, Kejuan Lemar          The Nations Law Firm



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      Docket                 Plaintiff                 Plaintiff’s Counsel
      Number
252. 19-01146     McCants, Robert              The Nations Law Firm
253. 19-01147     McClain, Eric Donnell        The Nations Law Firm
254. 19-01148     McKinnis, Uesamah Qahir      The Nations Law Firm
                  Traylor
255. 19-01149     McMillian-Evans, Bridget     The Nations Law Firm
                  Deanne
256.   19-01150   Melerine, Wilson W.          The Nations Law Firm
257.   19-01151   Miranda, Rafael Briones      The Nations Law Firm
258.   19-01152   Mitchell, Tony Arlando Jr.   The Nations Law Firm
259.   19-01153   Molinere, Clark Joseph Jr    The Nations Law Firm
260.   19-01154   Monceaux, Timothy Alan       The Nations Law Firm
261.   19-01155   Moore, Elton Rockie          The Nations Law Firm
262.   19-01156   Moore, Troy Sinclair         The Nations Law Firm
263.   19-01157   Moorer, Robert Shaunta       The Nations Law Firm
264.   19-01159   Morehead, Ronald Dewayne     The Nations Law Firm
265.   19-01160   Moton, Sabrina Shanta        The Nations Law Firm
266.   19-01161   Myers, Erica Lynette         The Nations Law Firm
267.   19-01187   Garcia, German               The Downs Law Group
268.   19-01188   Clay, Dwayne Cardell         The Downs Law Group
269.   19-01189   McGrew, Dewayne              The Downs Law Group
270.   19-01190   Gerkin, Travis R.            The Downs Law Group
271.   19-01202   Jarrell, Freddie Leon        The Downs Law Group
272.   19-01203   Rubi, Lourdes                The Downs Law Group
273.   19-01204   Moreta, Franklin Betance     The Downs Law Group
274.   19-01205   Gregory, Marshall David      The Downs Law Group
275.   19-01245   Adams, Larry Lee             The Nations Law Firm
276.   19-01246   Agee, David Earl Jr.         The Nations Law Firm
277.   19-01247   Amrhein, Eugene Joseph       The Nations Law Firm
278.   19-01248   Barber, Franklin Delon       The Nations Law Firm
279.   19-01250   Batiste, Brionna Lynn        The Nations Law Firm
280.   19-01251   Bell, Gilton Armahd          The Nations Law Firm
281.   19-01256   Bellow, David June           The Nations Law Firm
282.   19-01257   Bolton, Candice Latrise      The Nations Law Firm
283.   19-01258   Brewer, Kimberly Diann       The Nations Law Firm
284.   19-01261   Bui, Sang Thanh              The Nations Law Firm
285.   19-01266   Couch, Larry Thomas          The Nations Law Firm
286.   19-01267   Delle, Michael Anthony       The Nations Law Firm
287.   19-01269   Evans, Lester James Jr.      The Nations Law Firm
288.   19-01270   Evans, Rachael Morales       The Nations Law Firm
289.   19-01271   Everhart, Ezzer Charles      The Nations Law Firm


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            Docket                Plaintiff                         Plaintiff’s Counsel
            Number
    290.   19-01274   Fairley, Natalie Resha              The Nations Law Firm
    291.   19-01275   Farac, Joseph Anthony               The Nations Law Firm
    292.   19-01276   Farrar, Lourinda Paulette           The Nations Law Firm
    293.   19-01299   Gardner, Mortagus Renard            The Nations Law Firm
    294.   19-01302   Gray, Glerford III                  The Nations Law Firm
    295.   19-01303   Harris, Robert Anthony              The Nations Law Firm
    296.   19-01307   Nguyen, John Lee                    The Nations Law Firm
    297.   19-01308   Naquin, Kerry Mike                  The Nations Law Firm
    298.   19-01310   Morales, Jennifer Lynn              The Nations Law Firm
    299.   19-01312   Mike, Desiree Anise                 The Nations Law Firm
    300.   19-01315   McFarlin, Jason Lamar               The Nations Law Firm
    301.   19-01316   Matthews, Kevin Andre               The Nations Law Firm
    302.   19-01317   Long, Rachel Galilee                The Nations Law Firm
    303.   19-01318   Lefebvre, Kennth Joseph Jr.         The Nations Law Firm
    304.   19-01319   Landry, Herman Mark                 The Nations Law Firm
    305.   19-01322   Kline, Mark Arthur                  The Nations Law Firm
    306.   19-01323   Kirkland, Robert Mann, III          The Nations Law Firm
    307.   19-01324   Keys, Niiesha Sharmane              The Nations Law Firm
    308.   19-01325   Jordan, Phillip Annoy               The Nations Law Firm
    309.   19-01326   James, Pierce Lathal II             The Nations Law Firm
    310.   19-01327   Hudson, Craig Lamar                 The Nations Law Firm
    311.   19-01328   Hoy, Ronald Gary                    The Nations Law Firm
    312.   19-01339   Carrizales, Hipolito                Amaro Law Firm
    313.   19-01353   Kilpatrick, Cedric D. 3             Falcon Law Firm; Lindsay & Lindsay
                                                          P.A.
    314. 19-01355     McNeil, Michael W.                  Falcon Law Firm; Lindsay & Lindsay
                                                          P.A.
    315.   19-01358   Paige, John Herbert Jr.             The Nations Law Firm
    316.   19-01360   Patton, Justin Pierre               The Nations Law Firm
    317.   19-01361   Raum, Elizabeth Sue                 The Nations Law Firm
    318.   19-01363   Robichaux, David Adam               The Nations Law Firm
    319.   19-01366   Scarabin, Theodore Mathew           The Nations Law Firm
    320.   19-01367   Schmidt, Craig Phillip              The Nations Law Firm
    321.   19-01368   Smith, Ercel Dewayne                The Nations Law Firm
    322.   19-01369   Smith, Eric Neal                    The Nations Law Firm
    323.   19-01370   Sonnier, Donald Ray                 The Nations Law Firm

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        Mr. Kilpatrick has filed a motion to extend the deadline to provide initial disclosures,
which is pending. Rec. Doc. 6, Cedric D. Kilpatrick v. BP Exploration & Production, Inc., et
al., Case No. 19-01353 (May 22, 2019).



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        Docket               Plaintiff                   Plaintiff’s Counsel
        Number
324.   19-01371   Streb, Angela Marie            The Nations Law Firm
325.   19-01373   Tran, Hung Phuoc               The Nations Law Firm
326.   19-01374   Valley, Lennox Ishmail         The Nations Law Firm
327.   19-01375   Verdin, Bernita Dardar         The Nations Law Firm
328.   19-01376   Verdin, Britny Nicole          The Nations Law Firm
329.   19-01378   Verdin, Kristy Lynn            The Nations Law Firm
330.   19-01379   Walker, Aaron                  The Nations Law Firm
331.   19-01381   Wheeler, Earl McDonald Jr.     The Nations Law Firm
332.   19-01382   Young, Ronnie Daniel           The Nations Law Firm
333.   19-01389   Battle, Darcel Ragas           The Nations Law Firm
334.   19-01390   Blakney, Phil                  The Nations Law Firm
335.   19-01391   Buckley, Charles Edward        The Nations Law Firm
336.   19-01392   Bundy, Denise H.               The Nations Law Firm
337.   19-01393   Bussey, Eric Dranent           The Nations Law Firm
338.   19-01394   Chauvin, Tyler Joseph          The Nations Law Firm
339.   19-01395   Chrisco, Stephen Joseph        The Nations Law Firm
340.   19-01396   Cobb, Carmen Ruiz              The Nations Law Firm
341.   19-01397   Cologne, Debra Martin          The Nations Law Firm
342.   19-01398   Adams, Nicholas Ernest         The Nations Law Firm
343.   19-01399   Frazier, Nathan Charles, Sr.   The Nations Law Firm
344.   19-01403   Ferriera, Dennis Paul          The Nations Law Firm
345.   19-01404   Geraci, Stacey John            The Nations Law Firm
346.   19-01405   Jones Jr., Luther Richard      The Nations Law Firm
347.   19-01406   Leblanc, Keaton James          The Nations Law Firm
348.   19-01407   Levon, Dales Thomas            The Nations Law Firm
349.   19-01408   Naquin, Anthony Joseph Jr.     The Nations Law Firm
350.   19-01409   Naquin, Michel                 The Nations Law Firm
351.   19-01410   Ivory, Tangla Lesha            The Nations Law Firm
352.   19-01428   Werchan, Jeffrey               The Downs Law Group
353.   19-01429   Lugo, Domingo Ruiz             The Downs Law Group
354.   19-01431   Lanza, Claudia                 The Downs Law Group
355.   19-01432   Simpson, Chad                  The Downs Law Group
356.   19-01434   Martinez Ledezma, Cesar Ivan   The Downs Law Group
357.   19-01436   Sorto Munoz, Concepcion        The Downs Law Group
358.   19-01437   Subert, Igor                   The Downs Law Group
359.   19-01439   Turner, Velma Jean             The Downs Law Group
360.   19-01440   Wilkerson, Belinda             The Downs Law Group
361.   19-01447   Bridgewater, Scott             The Downs Law Group
362.   19-01451   Salazar, Leonardo Daniels      The Downs Law Group



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      Docket                  Plaintiff                 Plaintiff’s Counsel
      Number
363. 19-01452     Martinez-Vazquez, Nahun       The Downs Law Group
                  Gabriel
364.   19-01455   Adams, Christopher Jacob      The Nations Law Firm
365.   19-01456   Atwell, Thomas Clarence       The Nations Law Firm
366.   19-01457   Creech, Michael Earl          The Nations Law Firm
367.   19-01459   Henritzy, Amanda Rene         The Nations Law Firm
368.   19-01460   Cosby, Ira Doyle Sr.          The Nations Law Firm
369.   19-01462   Picquet III, Eugene Joseph    The Nations Law Firm
370.   19-01464   Picou, Randy John             The Nations Law Firm
371.   19-01466   Naquin, Sandra Ann            The Nations Law Firm
372.   19-01467   Sellers, Charles Len          The Nations Law Firm
373.   19-01468   Roberts, Samuel Auguste       The Nations Law Firm
374.   19-01469   Punch, Timmy Joseph           The Nations Law Firm
375.   19-01472   Presley, James Nicoma         The Nations Law Firm
376.   19-01475   Stallworth, Olivia Jean       The Nations Law Firm
377.   19-01476   Sowell, Kevin Bernard         The Nations Law Firm
378.   19-01477   Soileau Jr., Warren James     The Nations Law Firm
379.   19-01478   Shoemaker, Ryan Nicole        The Nations Law Firm
380.   19-01482   Snyder Jr., John Richard      The Nations Law Firm
381.   19-01483   Sharp, Austin David           The Nations Law Firm
382.   19-01484   Rodriguez, Wilfredo Bonilla   The Nations Law Firm
383.   19-01485   Portier, Chad Anthony         The Nations Law Firm
384.   19-01486   Palmer, Joseph Marcus         The Nations Law Firm
385.   19-01487   Nguyen, Hien Vinh             The Nations Law Firm
386.   19-01488   Naquin, Tyler Mike            The Nations Law Firm
387.   19-01489   Lirette, Ramsey Paul          The Nations Law Firm
388.   19-01490   Ladnier, Stephen Anthony      The Nations Law Firm
389.   19-01491   Kibodeaux, Susan Elizabeth    The Nations Law Firm
                  Heath
390.   19-01492   Strange, Dexter Eugene        The Nations Law Firm
391.   19-01493   Tabolt, Keith Ryan            The Nations Law Firm
392.   19-01498   Ibarra, Pedro                 Amaro Law Firm
393.   19-01510   Brown, Carlton Elliott        The Nations Law Firm
394.   19-01514   Carmichael, Dearick Lavon     The Nations Law Firm
395.   19-01515   Taleton, Zola Marie           The Nations Law Firm
396.   19-01516   Verdin, Stacey Lynn           The Nations Law Firm
397.   19-01517   Vicknair, Steven Charles      The Nations Law Firm
398.   19-01518   Waller, Cynthia Conti         The Nations Law Firm
399.   19-01520   Willis, Landon, Jr.           The Nations Law Firm
400.   19-01521   Wright, Andrew Allen          The Nations Law Firm


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        Docket               Plaintiff                    Plaintiff’s Counsel
        Number
401.   19-01523   English, Marcus Lakeith         The Nations Law Firm
402.   19-01524   Early, William Delance          The Nations Law Firm
403.   19-01525   Diaz, Donald Lee, Jr.           The Nations Law Firm
404.   19-01527   Cooper, Willie, II              The Nations Law Firm
405.   19-01528   Matthews, Errjay                The Nations Law Firm
406.   19-01529   Lockhart, Bobbie Gene           The Nations Law Firm
407.   19-01530   Jenkins, Robert Hosia           The Nations Law Firm
408.   19-01531   James, Catherine                The Nations Law Firm
409.   19-01532   Francois, Gilbert Carl          The Nations Law Firm
410.   19-01534   Quarterman, Rudolph Valentino   The Nations Law Firm
                  III
411.   19-01535   Prater, Phillip Ronald          The Nations Law Firm
412.   19-01537   Pellegrin Jr., Carl Joseph      The Nations Law Firm
413.   19-01538   Neal, Becky Marie               The Nations Law Firm
414.   19-01539   McDowell, Beverly               The Nations Law Firm
415.   19-01559   Stanfield, Grace Verdin         The Nations Law Firm
416.   19-01560   Shepheard, Stephanie Ann        The Nations Law Firm
417.   19-01561   Russ, Eddie Charles             The Nations Law Firm
418.   19-01567   Wiltz, Whatuganna               Amaro Law Firm
419.   19-01571   Simmons, Coronda                The Downs Law Group
420.   19-01572   Farmer, Laney                   The Downs Law Group
421.   19-01573   Cummings, Tamara M.             The Downs Law Group
422.   19-01574   Ojeda-Despaigne, Ifrahin        The Downs Law Group
423.   19-01575   Calderon, Epifanio              The Downs Law Group
424.   19-01576   Franklin, Barry                 The Downs Law Group
425.   19-01577   Castellanos, Carlos             The Downs Law Group
426.   19-01578   Strickland, Rodney              The Downs Law Group
427.   19-01579   Estrada, Rony                   The Downs Law Group
428.   19-01580   Acosta, Benny James             The Nations Law Firm
429.   19-01581   Adams, Matthew Paul             The Nations Law Firm
430.   19-01582   Alexander, Laderrius A.         The Nations Law Firm
431.   19-01583   Alfonso, Jacques Anthony        The Nations Law Firm
432.   19-01586   Allen, James Lloyd              The Nations Law Firm
433.   19-01587   Allen, Michael David            The Nations Law Firm
434.   19-01588   Amrhein, Patricia Susan         The Nations Law Firm
435.   19-01589   Biggs, Chasity Lasha            The Nations Law Firm
436.   19-01590   Bird, Joshua Anthony            The Nations Law Firm
437.   19-01591   Bishop, Vernon Oneal, Jr.       The Nations Law Firm
438.   19-01593   Blake, Roger Christopher        The Nations Law Firm
439.   19-01595   Bostic, Barry                   The Nations Law Firm


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        Docket               Plaintiff                  Plaintiff’s Counsel
        Number
440.   19-01596   Brightwell, Jedidiah Wilbon   The Nations Law Firm
441.   19-01597   Bruckner, Robert Lee          The Nations Law Firm
442.   19-01598   Campbell, Reco Jermaine       The Nations Law Firm
443.   19-01599   Chisholm, Alfred Thomas III   The Nations Law Firm
444.   19-01600   Christmas, Ronald Lloyd       The Nations Law Firm
445.   19-01601   Burnum, Michael Glen          The Nations Law Firm
446.   19-01603   Cole, Salathel Romeros        The Nations Law Firm
447.   19-01617   Hodges, Lori Nicole           The Nations Law Firm
448.   19-01618   Leverett, Bryan Keith         The Nations Law Firm
449.   19-01619   Krohn Jr., Stephen Herman     The Nations Law Firm
450.   19-01620   Kiefer, Robert Joseph         The Nations Law Firm
451.   19-01621   Johnson, Michael Terrand      The Nations Law Firm
452.   19-01622   Jenkins, William Roger Jr.    The Nations Law Firm
453.   19-01623   Henley, Mary Angela           The Nations Law Firm
454.   19-01624   Hampton, Shaun Michael        The Nations Law Firm
455.   19-01625   Hall, Xavier Orenthal         The Nations Law Firm
456.   19-01627   Gomez, David                  The Nations Law Firm
457.   19-01628   Furby, Justin Robert          The Nations Law Firm
458.   19-01629   Enclade, Travis Sentell       The Nations Law Firm
459.   19-01630   Fuller, Dinnettia Sharrel     The Nations Law Firm
460.   19-01632   Easley, Jason Len             The Nations Law Firm
461.   19-01633   DeMuro, Donald David III      The Nations Law Firm
462.   19-01634   Davis, Roderick Dale          The Nations Law Firm
463.   19-01635   Davis, Dale Alan              The Nations Law Firm
464.   19-01638   Dardar, Isadore Joseph        The Nations Law Firm
465.   19-01639   Compton, Bryant Scott         The Nations Law Firm
466.   19-01641   Craft, Charles Edward         The Nations Law Firm
467.   19-01661   McCreary Jr., Jimmy Lee       The Nations Law Firm
468.   19-01662   Matherne, John Robert         The Nations Law Firm
469.   19-01663   Marion, Johnnie               The Nations Law Firm
470.   19-01665   Mackey, Marilyn Brown         The Nations Law Firm
471.   19-01667   Lewis, Thomas Jerome          The Nations Law Firm
472.   19-01673   Nelton III, Aaron Joseph      The Nations Law Firm
473.   19-01674   Naquin Jr, Roy Antoine        The Nations Law Firm
474.   19-01676   Mulhern, Trisha Joy           The Nations Law Firm
475.   19-01677   Morrisette, Mario Dontele     The Nations Law Firm
476.   19-01678   Morel, Steven Anthony         The Nations Law Firm
477.   19-01680   Owens, Lyksha Lynn            The Nations Law Firm
478.   19-01681   Paige, Mary Evaughn           The Nations Law Firm



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         Docket                      Plaintiff                        Plaintiff’s Counsel
         Number
 479.   19-01683     Parnell, Darryl Anthony                 The Nations Law Firm
 480.   19-01684     Pellegrin, Lance Anthony                The Nations Law Firm
 481.   19-01685     Pellegrin Jr., Randy Paul               The Nations Law Firm
 482.   19-01686     Pellegrin, Tommy John                   The Nations Law Firm
 483.   19-01687     Porche Jr., Dean Anthony                The Nations Law Firm
 484.   19-01688     Phan, Chuong Van                        The Nations Law Firm
 485.   19-01689     Pinho, Danny Monroe                     The Nations Law Firm
 486.   19-01690     Rankins II, Booker Terrell              The Nations Law Firm

        B. Plaintiffs With Deficient Initial Disclosures

        Pursuant to Section 2(C) of CMO No. 2, the BP Parties have identified the following

cases in which plaintiffs have provided deficient or incomplete initial disclosures.

         Docket          Plaintiff            Plaintiff’s                   Deficiency
        Number                                 Counsel
 1.     18-10366     Bermudez,             The Downs Law       Failure to provide wet ink
                     Francisco             Group               signatures and/or initials; signature
                     Estevan                                   and/or initials copied and pasted
 2.     18-10514     Johnson,       The Nations Law            Failure to provide wet ink
                     Timothy Tyrone Firm                       signatures and/or initials; signature
                                                               and/or initials copied and pasted
 3.     18-10518     McCray,               The Nations Law     Failure to provide wet ink
                     Adrian Tyrone         Firm                signatures and/or initials; signature
                                                               and/or initials copied and pasted
 4.     18-10567     Davison,              The Nations Law     Failure to provide wet ink
                     Darlene               Firm                signatures and/or initials; signature
                     Bingham                                   and/or initials copied and pasted
 5.     18-10569     Eaton, John           The Nations Law     Failure to provide wet ink
                     Russell II            Firm                signatures and/or initials; signature
                                                               and/or initials copied and pasted
 6.     18-10628     Miller, Bille         The Nations Law     Failure to provide wet ink
                     Fred III              Firm                signatures and/or initials; signature
                                                               and/or initials copied and pasted
 7.     18-10647     Hornsby,              The Nations Law     Failure to provide wet ink
                     Joseph Randall        Firm                signatures and/or initials; signature
                                                               and/or initials copied and pasted
 8.     18-10790     King, Everett         The Nations Law     Failure to provide wet ink
                     Darnell               Firm                signatures and/or initials; signature
                                                               and/or initials copied and pasted




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       Docket       Plaintiff        Plaintiff’s                 Deficiency
      Number                          Counsel
9.    18-10842   McNeal, Robert   The Nations Law   Failure to provide wet ink
                 Leveal           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
10.   18-10844   Owens, Aletha    The Nations Law   Failure to provide wet ink
                 Virgin           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
11.   18-10907   Greenfield,      The Nations Law   Failure to provide wet ink
                 Rafeal           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
12.   18-11175   Anderson,        The Nations Law   Failure to provide wet ink
                 Rahsaan Gerald   Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
13.   18-11465   Rapalo-Garcia,   The Downs Law     Failure to provide wet ink
                 Marvin           Group             signatures and/or initials; signature
                 Soloman                            and/or initials copied and pasted
14.   18-11791   Cox, Rodney      The Nations Law   Failure to provide wet ink
                 Joseph           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
15.   18-11812   Funez-Meraz,     The Downs Law     Failure to provide wet ink
                 Dinora Suyapa    Group             signatures and/or initials; signature
                                                    and/or initials copied and pasted
16.   18-11828   Johnson,         The Downs Law     Failure to provide wet ink
                 Samuel Jr.       Group             signatures and/or initials; signature
                                                    and/or initials copied and pasted
17.   18-12110   Moore, Steven    The Nations Law   Failure to provide wet ink
                 Andrew           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
18.   18-13473   Brown, Marvin    The Nations Law   Failure to provide wet ink
                 Antwain          Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
19.   18-13478   King, Vincent    The Nations Law   Failure to provide wet ink
                 Anquawn          Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
20.   18-13482   Livingston,      The Nations Law   Failure to provide wet ink
                 Jamil Marquis    Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
21.   18-13500   Moreno, Celia    The Nations Law   Failure to provide wet ink
                                  Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted
22.   18-13612   Pidgeon, John    The Nations Law   Failure to provide wet ink
                 Demond           Firm              signatures and/or initials; signature
                                                    and/or initials copied and pasted




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       Docket       Plaintiff         Plaintiff’s                  Deficiency
      Number                           Counsel
23.   18-13697   Brown, Lewis      The Nations Law  Failure to provide wet ink
                                   Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
24.   18-13704   Leath, Joseph     The Nations Law Failure to provide wet ink
                 Lanare            Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
25.   18-13808   Epps, Willie      The Nations Law Failure to provide wet ink
                 Waddel, III       Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
26.   18-13970   King, Robert      The Nations Law Failure to provide wet ink
                 Dale              Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
27.   18-13978   Minor,            The Nations Law Failure to provide wet ink
                 Veronica          Firm             signatures and/or initials; signature
                 Valencia                           and/or initials copied and pasted
28.   18-14001   Johnston,         The Nations Law Failure to provide wet ink
                 Robert Harold,    Firm             signatures and/or initials; signature
                 Jr.                                and/or initials copied and pasted
29.   18-14026   Smith, Alfonza,   The Nations Law Failure to provide wet ink
                 Sr.               Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
30.   18-14233   Williams,         The Nations Law Failure to provide wet ink
                 Patricia A.       Firm             signatures and/or initials; signature
                                                    and/or initials copied and pasted
31.   18-14287   Montenegro,       The Downs Law Failure to provide wet ink
                 Nelvin P.         Group            signatures and/or initials; signature
                                                    and/or initials copied and pasted
32.   19-00602   Cobb, Bartow J.   Falcon Law Firm; Employment authorization missing
                                   Lindsay &        valid date
                                   Lindsay P.A.
33.   19-00876   Abbott, Jackie    The Nations Law Missing Rule 26(a) Disclosures
                 Carl Sr.          Firm
34.   19-00878   Adams, Bettye     The Nations Law Missing Rule 26(a) Disclosures
                 Delores           Firm
35.   19-00883   Alexander,        The Nations Law Missing Rule 26(a) Disclosures
                 Lethaniel, Jr.    Firm
36.   19-00893   Allison, John     The Nations Law Missing Rule 26(a) Disclosures
                 Robert            Firm
37.   19-00897   Armstrong,        The Nations Law Missing Rule 26(a) Disclosures
                 Jeffrey Jerome    Firm
38.   19-00915   Barfield,         The Nations Law Missing Rule 26(a) Disclosures
                 Dennis James      Firm
39.   19-00931   Bridges, Mariah   The Nations Law Missing Rule 26(a) Disclosures
                 Nandia            Firm


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       Docket       Plaintiff         Plaintiff’s                Deficiency
      Number                           Counsel
40.   19-00935   Brown, Tonya      The Nations Law   Missing Rule 26(a) Disclosures
                 Bernae            Firm
41.   19-00937   Bunn, Melissa     The Nations Law   Missing Rule 26(a) Disclosures
                 Rena              Firm
42.   19-00946   Charley, Gabe     The Nations Law   Missing Rule 26(a) Disclosures
                 Willie III        Firm
43.   19-00949   Clark, Bennie     The Nations Law   Missing Rule 26(a) Disclosures
                 Lee               Firm
44.   19-00950   Colville,         The Nations Law   Missing Rule 26(a) Disclosures
                 Samuel Lloyd      Firm
45.   19-00973   Reynolds,         The Nations Law   Missing Rule 26(a) Disclosures
                 Lutha Demon       Firm
46.   19-01021   Burnett, Renee    The Nations Law   Missing Rule 26(a) Disclosures
                 Indias            Firm
47.   19-01023   Dorsey, Arthur    The Nations Law   Missing Rule 26(a) Disclosures
                 Lee               Firm
48.   19-01037   Gaines, Crystal   The Nations Law   Missing Rule 26(a) Disclosures;
                 Lavonne           Firm              missing signed PPF and
                                                     authorizations
49.   19-01046   Greene,           The Nations Law   Missing Rule 26(a) Disclosures
                 Kenneth           Firm
                 Randell
50.   19-01056   Jacquet, Chad     The Nations Law   Missing Rule 26(a) Disclosures
                 Steven            Firm
51.   19-01077   Jordan, Douglas   The Nations Law   Missing Rule 26(a) Disclosures;
                 Dwayne Jr.        Firm              missing medical records
52.   19-01082   Knight,           The Nations Law   Missing Rule 26(a) Disclosures
                 Cornelius Jerel   Firm
53.   19-01086   Overstreet,       The Nations Law   Missing Rule 26(a) Disclosures
                 Anthony           Firm
54.   19-01087   Paige, Johnny     The Nations Law   Missing Rule 26(a) Disclosures
                                   Firm
55.   19-01095   Lynch, Cara       The Nations Law   Missing Rule 26(a) Disclosures
                 Darnett           Firm
56.   19-01097   Malunga,          The Nations Law   Missing Rule 26(a) Disclosures
                 Anziisi Gogo      Firm
57.   19-01098   Marquez, Mario    The Nations Law   Missing Rule 26(a) Disclosures
                                   Firm
58.   19-01105   Sessions,         The Nations Law   Missing Rule 26(a) Disclosures
                 Dorothy           Firm
                 Wodford
59.   19-01115   Whitfield,        The Nations Law   Missing Rule 26(a) Disclosures
                 Cleveland         Firm
                 Sylvester


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         Docket          Plaintiff         Plaintiff’s                   Deficiency
        Number                              Counsel
 60.    19-01117     West, William      The Nations Law     Missing Rule 26(a) Disclosures
                     Gary               Firm
 61.    19-01119     Watson,            The Nations Law     Missing Rule 26(a) Disclosures
                     Leeanna            Firm
                     Ernesta
 62.    19-01127     Thomas, Willie     The Nations Law     Missing Rule 26(a) Disclosures
                     Lewis              Firm
 63.    19-01136     Taylor Jr.,        The Nations Law     Missing Rule 26(a) Disclosures
                     Shedrick           Firm
                     Lorenzo
 64.    19-01249     Bass, Rodney       The Nations Law     Missing Rule 26(a) Disclosures
                     Lee                Firm
 65.    19-01314     McGee, Paul        The Nations Law     Missing Rule 26(a) Disclosures
                     Edward             Firm
 66.    19-01320     Knight Reed,       The Nations Law     Missing Rule 26(a) Disclosures
                     Natasha            Firm
                     Nannette
 67.    19-01380     Ward, Brittany     The Nations Law     Missing Rule 26(a) Disclosures
                     Wykima             Firm
 68.    19-01388     Albritton,         The Nations Law     Missing Rule 26(a) Disclosures;
                     Anthonette         Firm                employment authorization lists
                     Denise                                 incorrect name
 69.    19-01458     Hay, Nicholas      The Nations Law     Missing Rule 26(a) Disclosures
                     Earl               Firm
 70.    19-01465     Nguyen, Ricky      The Nations Law     Missing signed PPF and
                     Van                Firm                authorizations; missing Rule 26(a)
                                                            Disclosures
 71.    19-01526     Colletti, Joseph   The Nations Law     Missing signed PPF and
                     Marion             Firm                authorizations; missing Rule 26(a)
                                                            Disclosures
 72.    19-01602     Clark, Joshua      The Nations Law     Missing Rule 26(a) Disclosures
                     Michael            Firm


 II.    Category II Plaintiffs – Plaintiffs with Missing or Deficient Initial Disclosures
        Subject to an Order Requiring Full and Complete Disclosures

       Pursuant to Section 2(D) of CMO No. 2, the BP Parties have identified the following

cases in which plaintiffs have failed to provide full and complete disclosures after having been

ordered to do so. Plaintiffs who were ordered to provide full and complete disclosures before

May 25, 2019 (the deadline for the BP Parties to serve a draft of this report by email on counsel


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for all plaintiffs whose cases are listed herein) are certain plaintiffs: (1) whose motions for a

continuance were granted by the Court, but who failed to provide full and complete disclosures

by the continued deadline; 4 or (2) who were on Category 1 of the April 1, 2019 Status Report

(Rec. Doc. 25560) and were ordered to provide full and complete disclosures by May 1, 2019

(Rec. Doc. 25566), but failed to do so. The plaintiffs listed below have not provided full and

complete disclosures by the dates established by the Court.

          Docket         Plaintiff         Plaintiff’s Counsel                Deficiency
         Number
    1.   18-09723   Robin, Jr., Chris    The Nations Law Firm       Missing signed PPF and
                    Joseph                                          authorizations
    2.   18-10387   Brown, Darlean       Falcon Law Firm;           No production
                                         Lindsay & Lindsay
                                         P.A.
    3.   18-10429   Hickenbotham,        The Nations Law Firm       Failure to provide wet ink
                    Jerome                                          signatures and/or initials;
                                                                    signature and/or initials
                                                                    copied and pasted; PPF also
                                                                    lacks substantive responses
    4.   18-10509   Fountain,            The Nations Law Firm       Failure to provide wet ink
                    Vernon Terell                                   signatures and/or initials;
                                                                    signature and/or initials
                                                                    copied and pasted; PPF also
                                                                    lacks substantive responses
    5.   18-10517   McCall, Jarvis       The Nations Law Firm       Missing signed PPF and
                    Kentrell                                        authorizations
    6.   18-10519   Merrill, Robert      The Nations Law Firm       Missing signed PPF and
                    Kirk                                            authorizations; PPF also lacks
                                                                    substantive responses
    7.   18-10521   Pham, Hiep Anh       The Nations Law Firm       Missing signed PPF and
                                                                    authorizations; PPF also lacks
                                                                    substantive responses
    8.   18-10562   Danos, Brent         The Nations Law Firm       Missing signed PPF and
                    James                                           authorizations; PPF also lacks
                                                                    substantive responses
    9.   18-10573   Graveley,            The Nations Law Firm       Failure to provide wet ink
                    Thomas Jesus III                                signatures and/or initials;

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      See Order, Rec. Doc. 6, Michael A. Gideon v. BP Exploration & Production, Inc., et al.,
Case No. 18-14310 (Apr. 2, 2019) (ordering plaintiff to provide disclosures by May 1, 2019).



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      Docket         Plaintiff      Plaintiff’s Counsel            Deficiency
      Number
                                                          signature and/or initials
                                                          copied and pasted; PPF also
                                                          lacks substantive responses
10.   18-10575   Jones, Micah      The Nations Law Firm   Missing signed PPF and
                 Timothy                                  authorizations; PPF also lacks
                                                          substantive responses
11.   18-10578   Ochello, Louis    The Nations Law Firm   Missing signed PPF and
                 Joseph                                   authorizations
12.   18-10625   Williams,         The Nations Law Firm   Failure to provide wet ink
                 Hasson Ha’kium                           signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
13.   18-10635   Lajaunie,         The Nations Law Firm   Failure to provide wet ink
                 Wallace Charles                          signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
14.   18-10643   Warren, Kelvin    The Nations Law Firm   Failure to provide wet ink
                 Demond                                   signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
15.   18-10645   Weber, Jennifer   The Nations Law Firm   Missing signed PPF and
                 Mae                                      authorizations
16.   18-10648   Heath, Crystie    The Nations Law Firm   Missing signed PPF and
                 Danielle                                 authorizations
17.   18-10685   Downs, Justin     The Nations Law Firm   Missing signed PPF and
                 Blaine                                   authorizations
18.   18-10699   Taite, Ruby       The Nations Law Firm   Failure to provide wet ink
                 Rocelle                                  signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted; PPF also
                                                          lacks substantive responses
19.   18-10707   Florent Sr.,      The Nations Law Firm   Missing signed PPF and
                 EdwinTyrone                              authorizations
20.   18-10711   Guillory, Andy    The Nations Law Firm   Missing signed PPF and
                 Steven                                   authorizations
21.   18-10713   Haley, Michael    The Nations Law Firm   Missing signed PPF and
                 Dwain                                    authorizations; PPF also lacks
                                                          substantive responses
22.   18-10743   Dickinson,        The Nations Law Firm   Missing signed PPF and
                 Gregory Darnell                          authorizations; PPF also lacks
                                                          substantive responses
23.   18-10755   Hamilton, Adron   The Nations Law Firm   Missing signed PPF and
                 Lamont                                   authorizations; PPF also lacks
                                                          substantive responses


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       Docket        Plaintiff      Plaintiff’s Counsel            Deficiency
      Number
24.   18-10773   Hicks, Joshua     The Nations Law Firm   Failure to provide wet ink
                 Kendell                                  signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
25.   18-10780   Hooks, Roger      The Nations Law Firm   Missing signed PPF and
                 Joseph Jr.                               authorizations
26.   18-10782   Jackson, Torey    The Nations Law Firm   Missing signed PPF and
                 Durrell                                  authorizations; PPF also lacks
                                                          substantive responses
27.   18-10787   King, Anthony     The Nations Law Firm   Failure to provide wet ink
                 Wayne                                    signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted; PPF also
                                                          lacks substantive responses
28.   18-10789   Keegan, Thomas    The Nations Law Firm   Missing signed PPF and
                 William IV                               authorizations; PPF also lacks
                                                          substantive responses
29.   18-10846   Powell, Ronnie    The Nations Law Firm   Missing signed PPF and
                 Aaron                                    authorizations
30.   18-10851   Santiny, Joshua   The Nations Law Firm   Missing signed PPF and
                 Daniel                                   authorizations
31.   18-10916   Kumm, Matthias    The Nations Law Firm   Missing signed PPF and
                                                          authorizations
32.   18-10937   Thomas, Paul      The Nations Law Firm   Missing signed PPF and
                 Christopher                              authorizations; PPF also lacks
                                                          substantive responses
33.   18-10975   Barthelemy,       The Nations Law Firm   Missing signed PPF and
                 Myron Francis                            authorizations
34.   18-10980   Billiot, Corey    The Nations Law Firm   Missing signed PPF and
                 Joseph                                   authorizations; PPF also lacks
                                                          substantive responses
35.   18-10988   Billiot, Risha    The Nations Law Firm   Missing signed PPF and
                 Marie                                    authorizations; PPF also lacks
                                                          substantive responses
36.   18-10998   Booker, Antoine   The Nations Law Firm   Missing signed PPF and
                 Vonche                                   authorizations; PPF also lacks
                                                          substantive responses
37.   18-11001   Smith, Rhonda     The Nations Law Firm   Missing signed PPF and
                 Nashovia                                 authorizations
38.   18-11004   Spencer, Kevin    The Nations Law Firm   Missing signed PPF and
                 Dwayne                                   authorizations; PPF also lacks
                                                          substantive responses
39.   18-11005   Wallace, Nolan    The Nations Law Firm   Missing signed PPF and
                 Ryan                                     authorizations


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       Docket        Plaintiff       Plaintiff’s Counsel            Deficiency
      Number
40.   18-11008   Watkins, Carl      The Nations Law Firm   Missing signed PPF and
                 Marshuan                                  authorizations
41.   18-11030   Ashcraft, Larry    The Nations Law Firm   Missing signed PPF and
                                                           authorizations
42.   18-11031   Baker, Kermit III The Nations Law Firm    Missing signed PPF and
                                                           authorizations
43.   18-11049   Buford, Orlando    The Nations Law Firm   Missing signed PPF and
                 Romon                                     authorizations
44.   18-11051   Bunch, Gregory     The Nations Law Firm   Missing signed PPF and
                 Thomas                                    authorizations
45.   18-11069   Carbajal, Max      The Nations Law Firm   Missing signed PPF and
                 Emiliano                                  authorizations; PPF also lacks
                                                           substantive responses
46.   18-11071   Celestin, Joshua   The Nations Law Firm   Missing signed PPF and
                 Kindall                                   authorizations; PPF also lacks
                                                           substantive responses
47.   18-11072   Chaisson, Amber The Nations Law Firm      Missing signed PPF and
                 Nicole                                    authorizations; PPF also lacks
                                                           substantive responses
48.   18-11076   Coon, Toren        The Nations Law Firm   Missing signed PPF and
                 Martel                                    authorizations
49.   18-11077   Cotton, Zachary    The Nations Law Firm   Failure to provide wet ink
                                                           signatures and/or initials;
                                                           signature and/or initials
                                                           copied and pasted
50.   18-11183   Diaz, Donald       The Nations Law Firm   Missing signed PPF and
                 Lee                                       authorizations
51.   18-11185   Douglas,           The Nations Law Firm   Failure to provide wet ink
                 Michael                                   signatures and/or initials;
                                                           signature and/or initials
                                                           copied and pasted
52.   18-11189   Glamuzina, Josip The Nations Law Firm     Missing signed PPF and
                 Ante                                      authorizations; PPF also lacks
                                                           substantive responses
53.   18-11196   Hicks III,         The Nations Law Firm   Missing signed PPF and
                 William Thomas                            authorizations
54.   18-11198   Holmes,            The Nations Law Firm   Missing signed PPF and
                 Demitrick                                 authorizations
                 Christopher
55.   18-11206   Labiche, Carl      The Nations Law Firm   Missing signed PPF and
                 Bryant                                    authorizations; PPF also lacks
                                                           substantive responses




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       Docket        Plaintiff        Plaintiff’s Counsel            Deficiency
      Number
56.   18-11207   Sartain, Lee        The Nations Law Firm   Missing signed PPF and
                 Edgar                                      authorizations; PPF also lacks
                                                            substantive responses
57.   18-11267   Dragobratovich,     The Nations Law Firm   Missing signed PPF and
                 Kristofer Mark                             authorizations
58.   18-11268   Garcia, Paul        The Nations Law Firm   Missing signed PPF and
                 Anthony                                    authorizations
59.   18-11270   Hill, Jason         The Nations Law Firm   Missing signed PPF and
                 Daniel                                     authorizations; PPF also lacks
                                                            substantive responses
60.   18-11271   Ho, Hung Van        The Nations Law Firm   Missing signed PPF and
                                                            authorizations; PPF also lacks
                                                            substantive responses
61.   18-11272   House, Jerome       The Nations Law Firm   Missing signed PPF and
                 Jermaine                                   authorizations; PPF also lacks
                                                            substantive responses
62.   18-11273   Irby, Tracy Stein   The Nations Law Firm   Missing signed PPF and
                                                            authorizations; PPF also lacks
                                                            substantive responses
63.   18-11283   McDuff, Gary        The Nations Law Firm   Missing signed PPF and
                 Bruce                                      authorizations
64.   18-11288   Melerine,           The Nations Law Firm   Missing signed PPF and
                 Nathan James                               authorizations
65.   18-11290   Morgan, Jr.,        The Nations Law Firm   Missing signed PPF and
                 Danny Lenroy                               authorizations; PPF also lacks
                                                            substantive responses
66.   18-11377   Johnston,           The Nations Law Firm   PPF is signed but lacks
                 Michael Sean                               substantive responses
67.   18-11380   Danos, Tara Ann     The Nations Law Firm   Missing signed PPF and
                                                            authorizations
68.   18-11396   Lathrop, Thomas     The Nations Law Firm   Missing signed PPF and
                 Joseph                                     authorizations
69.   18-11408   Moffett, Cedric     The Nations Law Firm   Missing Rule 26(a)
                 Antonia                                    Disclosures
70.   18-11410   Motes, Jeffry       The Nations Law Firm   Missing signed PPF and
                 Lee                                        authorizations
71.   18-11416   Nguyen,             The Nations Law Firm   Missing signed PPF and
                 Christina Phuong                           authorizations
72.   18-11417   Nguyen, Hung        The Nations Law Firm   Missing signed PPF and
                 Minh                                       authorizations
73.   18-11421   Nguyen, Thoi        The Nations Law Firm   Missing signed PPF and
                 Huu                                        authorizations
74.   18-11422   Nichols, Willie     The Nations Law Firm   Failure to provide wet ink
                 Dewayne                                    signatures and/or initials;


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      Docket         Plaintiff       Plaintiff’s Counsel            Deficiency
      Number
                                                           signature and/or initials
                                                           copied and pasted; PPF also
                                                           lacks substantive responses
75.   18-11502   Nix, Alfreda       The Nations Law Firm   Missing signed PPF and
                 Juawanna                                  authorizations
76.   18-11506   Palmisano, Darin   The Nations Law Firm   Missing signed PPF and
                 James                                     authorizations
77.   18-11510   Paternostro II,    The Nations Law Firm   Missing signed PPF and
                 Stephen Michae                            authorizations
78.   18-11516   Powell,            The Nations Law Firm   Missing signed PPF and
                 Pleashetta                                authorizations
79.   18-11518   Prejean, Dennis    The Nations Law Firm   Missing signed PPF and
                 Joseph                                    authorizations
80.   18-11529   Ramond,            The Nations Law Firm   Missing signed PPF and
                 Jeremie Charles                           authorizations
81.   18-11530   Reese, Renaldo     The Nations Law Firm   Missing signed PPF and
                 Emanuel                                   authorizations; PPF also lacks
                                                           substantive responses
82.   18-11537   Riley Jr., Carl    The Nations Law Firm   Missing signed PPF and
                 Blake                                     authorizations; PPF also lacks
                                                           substantive responses
83.   18-11597   Buras Sr., Chad    The Nations Law Firm   Missing signed PPF and
                 Michael                                   authorizations
84.   18-11600   Champagne,         The Nations Law Firm   Failure to provide proof that
                 David John                                signatory is authorized
                                                           representative
85.   18-11606   Slack, Robert      The Nations Law Firm   Missing signed PPF and
                 William Jr.                               authorizations
86.   18-11610   Stamant, Bryan     The Nations Law Firm   Missing signed PPF and
                 Paul                                      authorizations
87.   18-11619   Taylor,            The Nations Law Firm   Missing signed PPF and
                 Christopher                               authorizations
                 Raymond
88.   18-11622   Toups Jr.,         The Nations Law Firm   Missing signed PPF and
                 Ronnie Joseph                             authorizations; PPF also lacks
                                                           substantive responses
89.   18-11623   Tran, Dinh Ngoc    The Nations Law Firm   Missing signed PPF and
                                                           authorizations
90.   18-11624   Tran, Phan Van     The Nations Law Firm   Missing signed PPF and
                                                           authorizations
91.   18-11625   Tran, Se Thi       The Nations Law Firm   Missing signed PPF and
                                                           authorizations; PPF also lacks
                                                           substantive responses



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       Docket        Plaintiff       Plaintiff’s Counsel            Deficiency
      Number
92.   18-11695   Treadaway, Alex The Nations Law Firm      Missing signed PPF and
                 Joseph                                    authorizations
93.   18-11703   Willyard Jr.,   The Nations Law Firm      Missing signed PPF and
                 Donald Rae                                authorizations; PPF also lacks
                                                           substantive responses
94.   18-11704   Wolf, Jason        The Nations Law Firm   Missing signed PPF and
                 Everett                                   authorizations
95.   18-11708   Hall, Gary         The Nations Law Firm   Failure to provide wet ink
                 Dwight                                    signatures and/or initials;
                                                           signature and/or initials
                                                           copied and pasted; PPF also
                                                           lacks substantive responses
96.   18-11710   Johnson,           The Nations Law Firm   Missing signed PPF and
                 Lakeada Sherrel                           authorizations; PPF also lacks
                                                           substantive responses
97.   18-11711   Jones, Cory        The Nations Law Firm   Missing signed PPF and
                 Thomas                                    authorizations; PPF also lacks
                                                           substantive responses
98.   18-11712   Lee, Lindsey       The Nations Law Firm   Missing signed PPF and
                                                           authorizations
99.   18-11713   McDonald,          The Nations Law Firm   Missing signed PPF and
                 Deidra D’Angela                           authorizations; PPF also lacks
                 Myers                                     substantive responses
100. 18-11719    Weaver, Gregory    The Nations Law Firm   Missing signed PPF and
                 Darren                                    authorizations
101. 18-11720    Wells, Yolanda     The Nations Law Firm   Missing signed PPF and
                 Yvette                                    authorizations
102. 18-11721    Williams, Erika    The Nations Law Firm   Failure to provide wet ink
                 Latressa                                  signatures and/or initials;
                                                           signature and/or initials
                                                           copied and pasted
103. 18-11778    Chiodo, Anthony The Nations Law Firm      Missing signed PPF and
                 Paul III                                  authorizations
104. 18-11781    Copeland,       The Nations Law Firm      PPF is signed but lacks
                 George                                    substantive responses
105. 18-11785    Cotton, Yolanda The Nations Law Firm      Missing signed PPF and
                 Patricia                                  authorizations; PPF also lacks
                                                           substantive responses
106. 18-11793    Crocker,           The Nations Law Firm   Missing signed PPF and
                 William Ray                               authorizations
107. 18-11838    Tillman, Randall   Frank J. D’Amico Jr.   Missing PPF and
                                    APLC                   authorizations
108. 18-11843    Guidry, Harris     The Nations Law Firm   Missing signed PPF and
                 Joseph                                    authorizations


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      Docket        Plaintiff      Plaintiff’s Counsel            Deficiency
     Number
109. 18-11847   Hobdy, Robert     The Nations Law Firm   Missing signed PPF and
                John                                     authorizations; PPF also lacks
                                                         substantive responses
110. 18-11856   Johnson,          The Nations Law Firm   Missing signed PPF and
                Demarcus                                 authorizations; PPF also lacks
                Deandre                                  substantive responses
111. 18-11857   Jones, Jeremy     The Nations Law Firm   Missing signed PPF and
                Timajo                                   authorizations
112. 18-11863   Norwood,          The Nations Law Firm   Missing signed PPF and
                Jeffrey Allen                            authorizations
113. 18-11865   Billiot, Ryan A   The Nations Law Firm   Missing signed PPF and
                                                         authorizations
114. 18-11958   Ferreira, Jose    The Downs Law          Failure to provide wet ink
                Pena              Group                  signatures and/or initials;
                                                         signature and/or initials
                                                         copied and pasted
115. 18-12041   Jordan, Kehinde   The Nations Law Firm   Failure to provide wet ink
                Tranell                                  signatures and/or initials;
                                                         signature and/or initials
                                                         copied and pasted
116. 18-12082   Phimavong,        The Nations Law Firm   Missing signed PPF and
                Vorasing Joe                             authorizations; PPF also lacks
                                                         substantive responses
117. 18-12085   Odom, Travis      The Nations Law Firm   Missing signed PPF and
                Santel                                   authorizations
118. 18-12097   Kinsey, Samuel    The Nations Law Firm   Missing signed PPF and
                Eugene                                   authorizations
119. 18-12104   Matthews,         The Nations Law Firm   Missing signed PPF and
                Walter Paul                              authorizations
120. 18-12166   Alder, Keith      The Nations Law Firm   No production
                George
121. 18-12168   Ancar, Richard    The Nations Law Firm   No production
                Kenneth
122. 18-12169   Anderson, Ivory   The Nations Law Firm   No production
123. 18-12191   Blackston,        The Nations Law Firm   No production
                Dannie Bernard
124. 18-12193   Ruffins, Jerome   The Nations Law Firm   No production
                Devin
125. 18-12195   Seliby, William   The Nations Law Firm   Missing Rule 26(a)
                Edward, III                              Disclosures
126. 18-12197   Smith, Barry      The Nations Law Firm   No production
                Donavan
127. 18-12203   Taillon, Megan    The Nations Law Firm   No production
                Marie


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      Docket       Plaintiff        Plaintiff’s Counsel            Deficiency
     Number
128. 18-12206   Tracy, Jon         The Nations Law Firm   No production
                Richard
129. 18-12212   Witherspoon,       The Nations Law Firm   No production
                Demarcus James
130. 18-12303   Carson,            The Nations Law Firm   No production
                Kawatues
                Markwette
131. 18-12305   Clark, Donnie      The Nations Law Firm   Failure to provide wet ink
                Lee                                       signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
132. 18-12308   Colston,           The Nations Law Firm   No production
                Laneesha
                Anjanetta
133. 18-12315   Talton, Stafford   The Nations Law Firm   No production
                Dewayne
134. 18-12317   Waite, Eleanor     The Nations Law Firm   No production
                Noel
135. 18-12343   Bihlear, Eddie     The Nations Law Firm   No production
136. 18-12359   Bradberry,         The Nations Law Firm   No production
                Bobby Lynn
137. 18-12364   Chiodo, Anthony    The Nations Law Firm   No production
                Paul Jr.
138. 18-12368   Taylor, Thomas     The Nations Law Firm   No production
                Edward
139. 18-12449   Claxton,           Frank J. D’Amico Jr.   Missing PPF and
                Anthony            APLC                   authorizations
140. 18-12478   Brown, Iranikia    The Nations Law Firm   No production
                Lashawn
141. 18-12480   Cannon, Martin     The Nations Law Firm   No production
                Houston
142. 18-12484   Brown, Mario       The Nations Law Firm   No production
                Catrell
143. 18-12486   Bryant, Tony       The Nations Law Firm   Missing signed PPF
                Lamar
144. 18-12487   Butler, Eddie      The Nations Law Firm   No production
                David
145. 18-12490   Cotton, Oliver,    The Nations Law Firm   No production
                Jr.
146. 18-12493   Courtney, John     The Nations Law Firm   No production
                Bart
147. 18-12495   Cox, Charles       The Nations Law Firm   No production
                Leslie



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      Docket        Plaintiff       Plaintiff’s Counsel            Deficiency
     Number
148. 18-12497   Delle, Jeffery     The Nations Law Firm   No production
                Lawrence
149. 18-12501   Fitzhugh, David    The Nations Law Firm   Missing Rule 26(a)
                Leon                                      Disclosures
150. 18-12503   Russell, Richard   The Nations Law Firm   Missing signed
                Lafayette                                 authorizations; missing Rule
                                                          26(a) Disclosures
151. 18-12511   Stevenson,         The Nations Law Firm   No production
                Alyce Rebecca
152. 18-12512   Tanner, Cherrish   The Nations Law Firm   No production
                Michelle
153. 18-12514   Tellez, Jairo      The Nations Law Firm   No production
                Velandia
154. 18-12680   Gibbs, Rochelle    The Nations Law Firm   No production
                Renne
155. 18-12682   Goff, Wayne        The Nations Law Firm   No production
                Everette
156. 18-12683   Griffith, Vern     The Nations Law Firm   No production
                Allan
157. 18-12684   Grinstead,         The Nations Law Firm   No production
                Michael
                Anthony
158. 18-12685   Hall, Donnie       The Nations Law Firm   Missing Rule 26(a)
                Eugene                                    Disclosures; missing medical
                                                          records
159. 18-12686   Helton, Jeffery    The Nations Law Firm   No production
                Stephen
160. 18-12689   Hinton, Sidney     The Nations Law Firm   Missing Rule 26(a)
                Wayne                                     Disclosures
161. 18-12691   Richardson,        The Nations Law Firm   No production
                Angela Latongia
162. 18-12695   Roberts, Romeo     The Nations Law Firm   No production
                Casanova
163. 18-12700   Tran, Dave Dat     The Nations Law Firm   No production
164. 18-12745   Hutchins,          The Nations Law Firm   No production
                Shelton Deon
165. 18-12750   Jackson, Joshua    The Nations Law Firm   No production
                Derek
166. 18-12753   Jarrett, Larry     The Nations Law Firm   No production
                Jerome
167. 18-12776   Jones, Emile       The Nations Law Firm   No production
                Carnell
168. 18-12778   Jones, Ronald      The Nations Law Firm   No production
                Lester Jr.


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      Docket        Plaintiff       Plaintiff’s Counsel            Deficiency
     Number
169. 18-12805   Kates, Michael     The Nations Law Firm   No production
                Dietrick
170. 18-12815   Quach, Richard     The Nations Law Firm   No production
171. 18-12832   Thomson,           The Nations Law Firm   No production
                Anthony McNair
172. 18-12833   Webb, Kelly        The Nations Law Firm   No production
                Laveron Jr.
173. 18-12834   Williams,          The Nations Law Firm   No production
                Kimberly Denise
174. 18-13481   Leashore,          The Nations Law Firm   Missing Rule 26(a)
                Kendera Patrice                           Disclosures
175. 18-13485   Martin, Peter      The Nations Law Firm   Failure to provide wet ink
                Maurice Jr.                               signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
176. 18-13486   Mathis, Corey      The Nations Law Firm   No production
                Collins
177. 18-13490   McNair,            The Nations Law Firm   No production
                Algernon
                Aundra
178. 18-13494   McNeeley, Larry    The Nations Law Firm   No production
                Cheyenne
179. 18-13499   Moore, Johnnie     The Nations Law Firm   No production
                Earl
180. 18-13502   Nance, Norma       The Nations Law Firm   No production
                Jean
181. 18-13582   Abner-             The Nations Law Firm   No production
                Nicholson,
                Janice Anastasia
182. 18-13583   Aguilar, Hector    The Nations Law Firm   No production
183. 18-13587   Ally, Ashton       The Nations Law Firm   No production
                Anthony
184. 18-13591   Austin, Jacob      The Nations Law Firm   No production
                Raynard
185. 18-13593   Baldwin, Stevie    The Nations Law Firm   No production
                George, Sr.
186. 18-13594   Banken, Tanea      The Nations Law Firm   No production
                Leilani
187. 18-13610   Pettis, Jimmy      The Nations Law Firm   Missing Rule 26(a)
                Lee                                       Disclosures
188. 18-13621   Porter, Rapier     The Nations Law Firm   No production
                Ely
189. 18-13626   Parker, Jonathan   The Nations Law Firm   No production
                Jude


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      Docket        Plaintiff        Plaintiff’s Counsel           Deficiency
     Number
190. 18-13685   Berzett, Arsenio    The Nations Law Firm   No production
                Tyrell
191. 18-13688   Blanchard,          The Nations Law Firm   No production
                Randolph J. IV
192. 18-13689   Bourgeois,          The Nations Law Firm   No production
                Joshua Demond
193. 18-13694   Brooks,             The Nations Law Firm   No production
                Gwendolyn Faye
194. 18-13699   Brumfield,          The Nations Law Firm   No production
                Clodie Ray
195. 18-13700   Bush, Michael       The Nations Law Firm   No production
                Jerome
196. 18-13708   Milton, Brice       The Nations Law Firm   No production
                Quintarius
197. 18-13711   Mitchell,           The Nations Law Firm   No production
                Hakeem Jamal
198. 18-13712   Mullikin, Telice    The Nations Law Firm   No production
                Watts
199. 18-13716   Van Ngo,            The Nations Law Firm   No production
                Chuong
200. 18-13718   Nguyen, Hoang       The Nations Law Firm   No production
                V.
201. 18-13749   Reddoch,            The Nations Law Firm   No production
                Corbett
                Lawrence
202. 18-13790   Adams, James        The Nations Law Firm   No production
                Lewis
203. 18-13797   Chav, Saran         The Nations Law Firm   No production
204. 18-13799   Chopin, Timothy     The Nations Law Firm   No production
                Michael Sr.
205. 18-13803   Colley, Brittany    The Nations Law Firm   No production
                Nicole
206. 18-13806   Domangue,           The Nations Law Firm   No production
                Darrell Anthony
207. 18-13811   Parker, Treko       The Nations Law Firm   No production
                Jamal
208. 18-13814   Payton, Reginald    The Nations Law Firm   No production
                Rene
209. 18-13818   Pugh, Tiquilla      The Nations Law Firm   No production
                LaShawn
210. 18-13823   Sharit, Christina   The Nations Law Firm   No production
                Ann
211. 18-13867   Smith, Marc         The Nations Law Firm   No production
                Anthony


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      Docket       Plaintiff        Plaintiff’s Counsel            Deficiency
     Number
212. 18-13875   Beck, Latiffany    The Nations Law Firm   No production
                Marsha
213. 18-13876   Booker, William    The Nations Law Firm   No production
                Leonard, III
214. 18-13881   Cheramie,          The Nations Law Firm   No production
                Anthony Paul
215. 18-13882   Clausell,          The Nations Law Firm   No production
                Jacquelynn Jones
216. 18-13883   Cook, Marcus       The Nations Law Firm   No production
                Lee
217. 18-13887   Duplantis, Elias   The Nations Law Firm   No production
                Paul
218. 18-13888   Eugene, Kenneth    The Nations Law Firm   No production
219. 18-13906   Bivens, Eric       The Nations Law Firm   No production
                Roderick
220. 18-13907   Fanguy, Michael    The Nations Law Firm   Failure to provide wet ink
                James                                     signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
221. 18-13908   Fisher, Michael    The Nations Law Firm   No production
                Eugene
222. 18-13916   Frye, Jeffery      The Nations Law Firm   No production
                Alan
223. 18-13918   Chancellor,        The Nations Law Firm   No production
                Raymond Jr
224. 18-13960   Harris, Curtis     The Nations Law Firm   No production
                Frederick
225. 18-13961   Harris, Paul       The Nations Law Firm   No production
                Thomas
226. 18-13963   Hayes, Ralph       The Nations Law Firm   Missing Rule 26(a)
                Eugene                                    Disclosures
227. 18-13964   Hicks, James       The Nations Law Firm   No production
                Xavier
228. 18-13965   Hobby, Karen       The Nations Law Firm   No production
                Kay
229. 18-13966   Hunter,            The Nations Law Firm   No production
                Dewayne Junior
230. 18-13967   James, Steven      The Nations Law Firm   No production
                Lorenzo
231. 18-13968   Johnson,           The Nations Law Firm   No production
                Michelle Hughen
232. 18-13969   Jones, Nathaniel   The Nations Law Firm   No production
233. 18-13972   Lambert, Ashley    The Nations Law Firm   No production
                Shatoya


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      Docket        Plaintiff       Plaintiff’s Counsel            Deficiency
     Number
234. 18-13973   Lee, Denorris      The Nations Law Firm   No production
                John
235. 18-13977   Mills, Kenyetta    The Nations Law Firm   Failure to provide PPF and
                Renea                                     authorizations; missing Rule
                                                          26(a) Disclosures.
236. 18-13980   Nguyen, Len        The Nations Law Firm   No production
                Van
237. 18-13983   Nemeth, Crystal    The Nations Law Firm   No production
                Lynn
238. 18-13994   Helmer, Jordon     The Nations Law Firm   No production
                Lee
239. 18-13999   Jenkins, James     The Nations Law Firm   No production
                Lee
240. 18-14004   Nicholson,         The Nations Law Firm   No production
                James Anthony
241. 18-14006   Padilla, Jessica   The Nations Law Firm   No production
                Rose
242. 18-14007   Payne, William     The Nations Law Firm   No production
                Thomas
243. 18-14021   Salter, Henry      The Nations Law Firm   No production
                Clifton Jr.
244. 18-14022   Schulte, Joseph    The Nations Law Firm   No production
                Charles Jr.
245. 18-14027   Sorey, Arthur      The Nations Law Firm   Failure to provide wet ink
                Bernard                                   signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted; missing
                                                          Rule 26(a) Disclosures
246. 18-14029   Strickland,        The Nations Law Firm   Missing signed authorization
                Ramelle                                   for release of Social Security
                Fitzgerald                                records; missing Rule 26(a)
                                                          Disclosures
247. 18-14030   Tanner, Bradley    The Nations Law Firm   Failure to provide useable
                Keith                                     authorization for release of
                                                          Social Security records
248. 18-14031   Thompson,          The Nations Law Firm   No production
                Jerome Alonzo
249. 18-14033   Trauth, Brent      The Nations Law Firm   No production
                Albert
250. 18-14050   Matthews,          The Nations Law Firm   No production
                Jonelle Jontue
251. 18-14053   Cameron,           The Nations Law Firm   No production
                Jamond Le’Jean
252. 18-14056   Brown, Leon        The Nations Law Firm   No production


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      Docket       Plaintiff        Plaintiff’s Counsel            Deficiency
     Number
253. 18-14058   Campbell,          The Nations Law Firm   No production
                Jerome Torry
254. 18-14060   Chadwick,          The Nations Law Firm   No production
                Charles
                Christopher
255. 18-14063   Chiasson, Randy    The Nations Law Firm   No production
                Thomas
256. 18-14095   Burrows,           The Nations Law Firm   No production
                Kenneth Lamar
257. 18-14097   Christmas, Larry   The Nations Law Firm   No production
                Darnell, Jr.
258. 18-14098   Clede, Scott       The Nations Law Firm   No production
                Aaron
259. 18-14099   Cooper, David      The Nations Law Firm   No production
                Lyn
260. 18-14102   Decaylor, John     The Nations Law Firm   No production
                Melvin
261. 18-14103   Duplantis, Teddy   The Nations Law Firm   No production
                Wedgir
262. 18-14104   Fairley, Adam      The Nations Law Firm   No production
                Lee
263. 18-14105   Fitch, William     The Nations Law Firm   No production
                Randolph III
264. 18-14106   Fox, Wayne         The Nations Law Firm   No production
                Edward
265. 18-14111   Lieurance,         The Downs Law          Failure to provide wet ink
                Raven E. (on       Group                  signatures and/or initials;
                behalf of Tracy                           signature and/or initials
                Speranzo)                                 copied and pasted
266. 18-14123   Woods, Jason       The Downs Law          Failure to provide wet ink
                Edwards            Group                  signatures and/or initials;
                                                          signature and/or initials
                                                          copied and pasted
267. 18-14151   Joseph, Michael    The Nations Law Firm   No production
                Christopher
268. 18-14152   Gunn, Trenkiel     The Nations Law Firm   No production
                Lamar
269. 18-14153   Harris, Bernard    The Nations Law Firm   No production
                Allen
270. 18-14154   Heptinstall,       The Nations Law Firm   No production
                Leeunder
                Monrow Sr.
271. 18-14159   Jackson,           The Nations Law Firm   No production
                Andrew, III


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      Docket        Plaintiff       Plaintiff’s Counsel           Deficiency
     Number
272. 18-14161   Lyons, Scott       The Nations Law Firm   No production
                David
273. 18-14165   Narcisse, Kermit   The Nations Law Firm   No production
                Peter
274. 18-14169   Nguyen, Huy        The Nations Law Firm   No production
                Hoang
275. 18-14173   Phalo, Charles     The Nations Law Firm   No production
                Lee
276. 18-14174   O’Sullivan,        The Nations Law Firm   No production
                Steven Sean
277. 18-14310   Gideon, Michael    Falcon Law Firm;       No production
                A.                 Lindsay & Lindsay
                                   P.A.




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June 3, 2019                        Respectfully submitted,


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                    AND BP AMERICA PRODUCTION COMPANY




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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 3rd day of June 2019. This pleading also has been served on counsel for all

Plaintiffs referenced herein via electronic mail, pursuant to Section (3) of the BELO Cases Initial

Proceedings Case Management Order No. 2.


                                                     /s/ Don K. Haycraft
                                                     Don K. Haycraft
